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                             IN THE UNITED STATES DISTRICT COURT
                                       DISTRICT OF UTAH


  BLUERIBBON COALITION, INC., et al.,                    Case No. 2:23-cv-00923-DAK-JCB

       Plaintiffs,
                                                         ORDER GRANTING JOINT MOTION
                                                         FOR SCHEDULING ORDER ON
  v.                                                     PLAINTIFFS’ MOTION FOR RELIEF
                                                         UNDER 5 U.S.C. § 705, OR,
                                                         ALTERNATIVELY, A PRELIMINARY
  U.S. BUREAU OF LAND MANAGEMENT,                        INJUNCTION
  et al.,

       Defendants.                                       Judge Dale A. Kimball
                                                         Magistrate Judge Jared C. Bennett



          Before the Court is a Joint Motion for Scheduling Order (Docket 23) by Defendants U.S.

 Bureau of Land Management, et al., and Plaintiffs BlueRibbon Coalition, et al. Good cause

 appearing, the motion is GRANTED. The Court sets the following schedule on Plaintiffs’

 Motion for Relief under 5 U.S.C. § 705, or, Alternatively, a Preliminary Injunction:

          1.         Defendants shall file a response on or before January 19, 2024.

          2.         Plaintiffs shall file a reply on or before February 9, 2024.

          3.         The Southern Utah Wilderness Alliance shall file any brief, whether as a

 Defendant-Intervenor or as proposed amicus, on or before January 26, 2024. Any such brief

 shall avoid redundancy and focus on arguments not raised by Defendants.

          The Court will address Plaintiffs’ request to present oral argument following the close of

 briefing on the Motion.

 SO ORDERED.
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 DATED January 8, 2024.

                                          BY THE COURT:



                                          DALE A. KIMBALL
                                          United States District Judge




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